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                 IN THE DISTRICT COURT OF THE UNITED STATES

                      FOR THE DISTRICT OF SOUTH CAROLINA

                                 GREENVILLE DIVISION



Spill the Beans, Inc., STB Enterprises, )
LLE, Roger A. Curtis, Lynda Curtis,     )
Peter Hansen, and David Wilson,         )      Civil Action No. 6:06-106-HFF-WMC
                                        )
                           Plaintiffs,  )
                                        )                   ORDER
           vs.                          )
                                        )
SweeTreats, Inc. and Robert Carlton, )
                                        )
                           Defendants. )
                                        )



              On October 1, 2008, a settlement conference was held before this court. On

October 16, 2008, the Honorable Henry F. Floyd, United States District Judge , referred all

settlement matters and discovery issues concerning settlement to this court for adjudication.

In the settlement conference, the court determined that certain documents regarding the

sale of Spill the Beans should be provided to the defendants to facilitate settlement. The

plaintiffs provided the transfer documents to the court for in camera inspection on

October 10, 2008. After reviewing the documents, the court communicated with the parties

via email on October 14, 2008, and noted that the court was inclined to have the plaintiffs

provide the documents to defense counsel in their unredacted format. Plaintiffs’ counsel

was instructed to submit any proposed redactions on or before October 16, 2008. No

proposed redactions were submitted.
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              Based upon the foregoing, the plaintiffs are instructed to provide to defense

counsel, within two days of this order, a copy of the business transfer documents.1 Defense

counsel may review the documents with their clients but are to safekeep all copies at their

office until further order of this court to return or destroy said copies. Further, the court will

provide a copy of the transfer documents to the Clerk of Court to be filed under seal. The

plaintiffs are preparing a financial statement for in camera submission to the court, and an

order regarding the financial documents will be forthcoming.

              IT IS SO ORDERED.


                                            s/William M. Catoe
                                            United States Magistrate Judge

October 20, 2008

Greenville, South Carolina




       1
         The documents are to include the following: (1) the Membership Interest Purchase
Agreement between John Pruden and Sarah Curtis, with exhibits; (2) First Amendment to Operating
Agreement of JP Repair, LLC; (3) Membership Interest Purchase Agreement between the Curtises
and STB Enterprises, LLC; (4) Lease Agreement dated September 27, 2006; (5) Sale of Business
Agreement between John Pruden and Roger Curtis dated September 28, 2007; (6) Asset Purchase
Agreement between the Curtises and John Pruden, dated October 1, 2007, with exhibits; (7)
Statement of Roger Curtis; (8) Statement of John Pruden; (9) Spill the Beans, Inc. Consent to
Action without Meeting by the Directors & Shareholders, dated October 23, 2007; (10) Articles of
Amendment dated October 12, 2007; and (11) Lease Agreement and addendum and exhibits, dated
April 28, 2008, between Falls Place, LLC and JP Repair, LLC.

                                                2
